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                              No. 2022-2090


             United States Court of Appeals
                for the Federal Circuit
                          KOSS CORPORATION
                               Appellant

                                     v.

                          BOSE CORPORATION
                                Appellee

         Appeal from the United States Patent and Trademark Office,
           Patent Trial and Appeal Board in No. IPR2021-00297

           Appellant Koss Corporation’s Combined Petition for
                Panel Rehearing and Rehearing En Banc


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FORM 9. Certificate of Interest                                                   Form 9 (p. 1)
                                                                                   March 2023


                     UNITED STATES COURT OF APPEALS
                        FOR THE FEDERAL CIRCUIT

                                  CERTIFICATE OF INTEREST

            Case Number 2022-2090
   Short Case Caption Koss Corporation v. Bose Corporation
   Filing Party/Entity Koss Corporation



 Instructions:

     1. Complete each section of the form and select none or N/A if appropriate.

     2. Please enter only one item per box; attach additional pages as needed, and
        check the box to indicate such pages are attached.

     3. In answering Sections 2 and 3, be specific as to which represented entities
        the answers apply; lack of specificity may result in non-compliance.

     4. Please do not duplicate entries within Section 5.

     5. Counsel must file an amended Certificate of Interest within seven days after
        any information on this form changes. Fed. Cir. R. 47.4(c).


  I certify the following information and any attached sheets are accurate and
  complete to the best of my knowledge.


        08/19/2024
  Date: _________________                   Signature:    /s/ Mark G. Knedeisen

                                            Name:         Mark G. Knedeisen




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FORM 9. Certificate of Interest                                                           Form 9 (p. 2)
                                                                                           March 2023


     1. Represented                       2. Real Party in             3. Parent Corporations
         Entities.                            Interest.                   and Stockholders.
   Fed. Cir. R. 47.4(a)(1).             Fed. Cir. R. 47.4(a)(2).         Fed. Cir. R. 47.4(a)(3).
 Provide the full names of            Provide the full names of        Provide the full names of
 all entities represented by          all real parties in interest     all parent corporations for
 undersigned counsel in               for the entities. Do not list    the entities and all
 this case.                           the real parties if they are     publicly held companies
                                      the same as the entities.        that own 10% or more
                                                                       stock in the entities.

                                      ‫܆‬
                                      ✔ None/Not Applicable            ‫܆‬
                                                                       ✔ None/Not Applicable




Koss Corporation




                                  ‫܆‬      Additional pages attached




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FORM 9. Certificate of Interest                                                 Form 9 (p. 3)
                                                                                 March 2023


 4. Legal Representatives. List all law firms, partners, and associates that (a)
 appeared for the entities in the originating court or agency or (b) are expected to
 appear in this court for the entities. Do not include those who have already entered
 an appearance in this court. Fed. Cir. R. 47.4(a)(4).
 ‫܆‬
 ✔        None/Not Applicable              ‫܆‬      Additional pages attached




 5. Related Cases. Other than the originating case(s) for this case, are there
 related or prior cases that meet the criteria under Fed. Cir. R. 47.5(a)?
 ‫ ܆‬Yes (file separate notice; see below) ‫ ܆‬No
  ✔
                                                        ‫ ܆‬N/A (amicus/movant)
 If yes, concurrently file a separate Notice of Related Case Information that complies
 with Fed. Cir. R. 47.5(b). Please do not duplicate information. This separate
 Notice must only be filed with the first Certificate of Interest or, subsequently, if
 information changes during the pendency of the appeal. Fed. Cir. R. 47.5(b).


 6. Organizational Victims and Bankruptcy Cases. Provide any information
 required under Fed. R. App. P. 26.1(b) (organizational victims in criminal cases)
 and 26.1(c) (bankruptcy case debtors and trustees). Fed. Cir. R. 47.4(a)(6).
 ‫܆‬
 ✔        None/Not Applicable              ‫܆‬      Additional pages attached




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                            RULE 35(b) STATEMENT

      Based on my professional judgment, I believe this appeal requires an answer

to one or more precedent-setting question(s) of exceptional importance:

      (1)    Whether issue preclusion applies when a party, after the district court

             dismissed its claims with leave to replead, amends a complaint to add

             new claims based on newly pleaded facts, and the new facts and new

             claims have never been addressed or adjudicated by any tribunal?

             Suggested Answer: No, because the new claims were never actually

             litigated and resolved on the merits.

      Based on my professional judgment, I also believe the panel decision is

contrary to the precedent of the Ninth Circuit set forth in:


Lacey v. Maricopa Cnty., 693 F.3d 896 (9th Cir. 2012); and Exeltis USA, Inc. v. First

Databank, Inc., 779 F. App’x 486 (9th Cir. 2019).1


                                               /s/ Mark G. Knedeisen
                                               Mark G. Knedeisen
                                               Attorney for Koss Corporation




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    Exeltis is precedential when relevant to the rules of claim preclusion or issue
    preclusion. 9th Cir. R. 36-3 (citation of unpublished opinions).

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                 REASONS FOR GRANTING THE PETITION

      Issue preclusion cannot attach to a judgment in which the underlying issues

were not “actually litigated.” When a district court grants a Rule 12(b)(6) motion to

dismiss without prejudice and grants leave to re-plead, and a party subsequently files

an amended complaint that raises new claims based on newly pleaded facts, the prior

dismissal does not “actually litigate” the new claims in the amended complaint. In

contrast, if a party fails to replead after such a dismissal (meaning that, unlike here,

there are no new claims), or if a court instead dismisses the claims with prejudice

and without leave to amend, or if a court grants summary judgment, the result is an

“actual litigation.”

      Prior to the panel ruling, no court had ever held that an order granting a motion

to dismiss with leave to amend acts as a preclusive resolution of the newly pleaded

claims and facts after amendment. Such a rule would render the amended complaint

superfluous and ignore the distinction between dismissal with prejudice and

dismissal without prejudice with leave to amend.

      In an issue of first impression, the Panel improperly dismissed the appeals

between Bose and Koss (which involved a challenge to the PTAB’s final written

decisions) based upon the erroneous conclusion that a Rule 12(b)(6) dismissal

without prejudice, with leave to amend, in a separate case involving the same

patents, acted as issue preclusion. More specifically, in Koss Corp. v. Plantronics,



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Inc., Case No. 4:21-cv-03854 (N.D. Cal.) (“Plantronics”), Plantronics obtained an

order dismissing Koss’s claims with leave to amend. Koss filed an amended

complaint adding new causes of action based on newly pleaded facts. Those new

causes of action have never been adjudicated. In a case of first impression, a panel

of this Court erroneously determined that unadjudicated causes of action, added in

an amended complaint and never adjudicated, are precluded under the doctrine of

issue preclusion based on the pre-amendment dismissal order. That ruling is contrary

to governing law.

      United States Supreme Court authority establishes that the doctrine of issue

preclusion applies only when the issue of fact or law was “actually litigated.” B&B

Hardware, Inc. v. Hargis Indus., Inc., 575 U.S. 138, 148 (2015); S. Pac. R. Co. v.

U.S., 168 U.S. 1, 50 (1897) (citing Cromwell v. Sac Cnty., 94 U.S. 351 (1876)). Here,

no court has performed any analysis of the newly pleaded claims (and in fact the

PTAB found the newly-pleaded claims patentable). There has been no determination

or identification of any issue of law or fact actually litigated in the SAC. As a result,

there can be no issue preclusion on the claims of the SAC.

      The Panel’s ruling also conflicts with decades of precedent, which holds that

issue preclusion applies only to claims that were actually litigated and does not

extend to claims in an amended complaint based upon facts and allegations not

included in the original complaint. Claims that have never been analyzed, or ruled



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upon, by any court are not “actually litigated” and cannot be precluded under the

doctrine of issue preclusion.

      Reconsideration or rehearing of this case en banc is necessary to correct the

Opinion’s improper application of Lacey v. Maricopa County, 693 F.3d 896 (9th Cir.

2012) and its progeny. The Ninth Circuit has regularly held, post-Lacey, that

amended complaints that replead a particular cause of action, render the claims in

the original complaint a legal nullity, and declines to hear appeals of any issues tied

to the claims in the original complaint. Yet, under the Opinion’s application of

Lacey, a party is required to appeal an order tied to a claim that became a nullity to

avoid preclusion of the amended claims. Thus, a party is required to bring an appeal

the Ninth Circuit prohibits.

      The Opinion improperly extends the Ninth Circuit’s rule that a cause of action

dismissed with prejudice need not be re-pleaded to preserve the issue for appeal.

Consider, for example, a party alleges claims for patent infringement and tortious

interference, and the court dismisses the claim for tortious interference with

prejudice, Lacey dictates the party need not replead the claims dismissed with

prejudice to appeal the dismissal after the infringement claim is adjudicated and

there is a final judgment. But when a party amends its infringement claim, after

dismissal without prejudice and leave to amend, the prior infringement claim is a

nullity. The Court’s Opinion incorrectly requires a party to appeal the original



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dismissal of the infringement claim (even after a new complaint is filed), which is

impossible in the Ninth Circuit.

      The Panel Opinion overlooks the dispositive distinction between this case and

Lacey. Here, Koss pleaded new claims based on new facts, in its Plantronics second

amended complaint, whereas in Lacey the dismissed claim was not subsequently re-

pleaded.




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      SUMMARY OF THE APPEALED FINAL WRITTEN DECISION

      The Opinion addressed five appeals, all involving inter partes review (“IPR”)

petitions filed by Appellee/Cross-Appellant Bose against patents owned by

Appellant Koss. The first appeal (22-2090) addressed IPR2021-00297, in which

Bose challenged claims 1–14 of U.S. Patent No. 10,368,155 (“the ’155 Patent”). The

Opinion also addressed the consolidated appeals and cross-appeals (2023-1173,

2023-1179, 2023-1180, and 2023-1191) from two additional IPRs. In the first IPR

(IPR2021-00612), Bose challenged claims 1–56 of U.S. Patent No. 10,206,025 (“the

’025 Patent”); and in the second IPR (IPR2021-00680), Bose challenged claims 1–

22, 32–41, 47, and 49–62 of U.S. Patent No. 10,469,934 (“the ’934 Patent”). The

three IPRs arose from Koss’s allegations, in Koss Corp. v. Bose Corp., Civ. Action

No. 1:20-cv-12193 (D. Mass.), that Bose infringes the ’155 Patent, the ’025 Patent,

and the ’934 Patent.

      In the three IPRs, the United States Patent and Trademark Office’s (“USPTO”)

Patent Trial and Appeal Board (“PTAB”) held that certain claims of the ’155 Patent,

the ’934 Patent, and the ’025 Patent were unpatentable but concluded that other

claims were not unpatentable. Koss and Bose appealed those decisions. The

Opinion does not address the merits of those decisions.




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      After the conclusion of the merits briefing, Bose moved to dismiss all five

appeals as moot in view of a settlement between Koss and Plantronics in

Plantronics.2

      In Plantronics, Koss filed a First Amended Complaint (“FAC”) alleging

infringement of at least independent Claim 1 of the ’025 Patent (Plantronics, ECF

No. 71 at 16), independent Claim 1 of the ’155 Patent (id. at 18), and independent

Claim 1 of the ’934 Patent (id. at 21). The FAC identified only these independent

claims as the basis for Koss’s infringement claim. Plantronics moved to dismiss the

FAC, alleging that the specifically identified claims in the FAC were unpatentable

under 35 U.S.C. § 101. Plantronics, ECF No. 80. Because only claim 1 from each

patent was at issue, the briefing did not independently analyze the dependent claims

and made only passing reference to them. Plantronics, ECF No. 81 at 12, 14, 16

(Plantronics characterizing groups of dependent claims with two-word phrases and

stating that the subject matter of the dependent claims “add[s] only minor detail”);

Plantronics, ECF No. 82 at 14–15 (Koss’s response to the conclusory allegations).

      Judge Tigar granted Plantronics’s motion to dismiss and granted Koss leave

to file a second amended complaint. Plantronics, ECF No. 88 at 16. In the dismissal


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    Bose, as the burden-bearing moving party, did not present the underlying
    briefing or orders from the Plantronics case to the Panel. Koss respectfully
    requests that the Panel and Court take judicial notice of these filings, or in the
    alternative grant the parties leave to supplement the record with the Plantronics
    briefing to ensure a complete record.

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order, the court noted that the parties did not independently argue the dependent

claims and treated the independent claims as representative of the subject matter of

the dependent claims. Id. at 11–12. But the court granted Koss leave to replead.

      Koss filed a Second Amended Complaint (“SAC”) in Plantronics alleging

infringement of certain dependent claims: Claim 4 of the ’025 Patent, Claim 4 of the

’934 Patent, and Claim 18 of the ’325 Patent. Plantronics, ECF No. 91. Koss also

alleged infringement of other patents, irrelevant to this appeal because they were not

asserted against Bose and were not part of the IPR proceedings. The new claims in

the SAC relied upon facts not pleaded in the prior complaint, including that the

dependent claims were found not unpatentable by the PTAB in the IPR proceedings

and also pleaded facts showing that the allegedly infringed dependent claims do not

have the same scope as the independent claims analyzed by Judge Tigar. Id. ¶¶ 78–

109, 130–165.

      Plantronics filed a motion to dismiss the SAC. Plantronics, ECF No. 93.

Before Judge Tigar ruled on the Plantronics motion to dismiss the SAC, Koss and

Plantronics settled their disputes (including the district court action and IPR

challenges filed by Plantronics as IPR2022-01503 and IPR2022-001504).

Plantronics, ECF No. 102. All claims in Plantronics and the related IPRs were

dismissed with prejudice.




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      Bose then moved to dismiss the appeals between Bose and Koss, alleging the

Plantronics order dismissing the FAC acted as issue preclusion because, although

Judge Tigar had never ruled upon the claims asserted in the SAC, the dismissal of

the FAC without prejudice and with leave to amend somehow actually litigated the

claims Koss raised in the SAC.




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                    SUMMARY OF THE PANEL DECISION

      The Panel agreed with Bose and held that issue preclusion rendered the

appeals moot (“Opinion”). Opinion, ECF No. 40 at 6. Specifically, the Panel found

that the district court’s order addressing the sufficiency of the claims in Koss’s FAC

precluded Koss from pursuing the unadjudicated claims in the SAC. In doing so,

the Panel, in a case of first impression, mistakenly equated a dismissal without

prejudice, with leave to amend, followed by amended infringement claims based on

different facts (in Plantronics) with an order of summary judgment (Hartley v.

Mentor Corp., 869 F.2d 1469 (Fed. Cir. 1989)) or a dismissal with prejudice (Lacey

v. Maricopa Cnty., 693 F.3d 896 (9th Cir. 2012)).

      The Panel rejected Koss’s argument that when Koss filed the SAC, the district

court’s order became a legal nullity with respect to the claims that Koss amended.

Instead, the Panel mistakenly relied upon the rule that a dismissed claim need not be

repleaded to be appealed, and reasoned that such rule meant that Koss’s filing of the

SAC left the district court’s order on the FAC as a valid interlocutory order that

governed the amended claims, such that Koss had to either appeal that order or ask

the district court to vacate it to avoid it becoming a final, preclusive ruling that

resolved the SAC.

      The Panel did not address the fact that the district court expressly granted Koss

leave to amend to address what the district court viewed as correctable insufficiency



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and that no court has ever considered the claims in the SAC. The Panel did not

examine or address the substantially different allegations in the FAC, deemed

insufficient, and those in the SAC.




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                                  ARGUMENT

      An order dismissing a claim without prejudice, with leave to amend, does not

“actually litigate[] and resolve[]” the sufficiency of claims amended in accordance

with that order. In a case of first impression, the Panel determined that, despite

Koss’s filing of amended claims in the SAC, the order dismissing the predecessor

claims in the FAC became a final judgment on the merits as to the amended claims

of the SAC, and thereby rendered moot all other actions involving the patents of the

Plantronics case. The Panel’s ruling is inconsistent with the governing law.

I. ISSUE PRECLUSION CANNOT APPLY BECAUSE THE AMENDED CLAIMS IN THE
SECOND AMENDED COMPLAINT HAVE NOT BEEN “ACTUALLY LITIGATED”

      The Panel incorrectly held that collateral estoppel precluded any continued

action against Bose. The Opinion never addresses the substantive differences

between the claims in the FAC dismissed without prejudice and the amended claims

in the operative SAC, or acknowledges that no court has ever addressed the

sufficiency of the amended claims in the SAC. Plantronics, ECF Nos. 71, 91. The

Panel erroneously concluded that the SAC had no legal effect, and the order

dismissing the predecessor claims in the FAC controls.

A. The Claims and Disputes Presented in the Second Amended Complaint Have
Never Been Reviewed or Dismissed by Any Court

      Under Supreme Court precedent, a “‘determination [in a prior case] is

conclusive in a subsequent action’” only “‘[w]hen an issue of fact or law is actually


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litigated.’” B&B Hardware, Inc., 575 U.S. at 148 (quoting Restatement (Second) of

Judgments § 27). To be “actually litigated” and to have a “preclusive effect,” the

issue must be subject to a merits determination by a court of competent jurisdiction,

and a second court must determine that the issue before the second court is identical

to the issue decided in the first court. See Google LLC v. Hammon Dev. Int’l, Inc.,

54 F.4th 1377, 1381 (Fed. Cir. 2022). The party against whom issue preclusion is

asserted must have actually litigated that issue in an earlier action and lost. Parklane

Hosiery Co. v. Shore, 439 U.S. 322, 329 (1979).

      The allegations of the SAC (and therefore the issues of fact and law associated

therewith) have not been subject to any analysis by any court, which means they

have not been “actually litigated.” It is therefore impossible for the newly pleaded

claims in the SAC to have been “actually litigated” for multiple reasons.

      First, because the district court granted Koss leave to amend the FAC, the

dismissal of the FAC could not constitute an “adjudication on the merits” of the

amended infringement claims in the SAC. See Wolfson v. Brammer, 616 F.3d 1045,

1065 (9th Cir. 2010) (finding dismissal for “curable defect” was “not an

adjudication of the merits” and “as a curable defect, a second action on the same

claim is permissible after correction of the deficiency”). Judge Tigar regularly grants

motions to dismiss with prejudice when deciding early validity issues under 35

U.S.C. § 101. See, e.g., PlanetID, LLC v. Digify, Inc., No. 19-CV-04615-JST, 2021



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WL 567371, at *10 (N.D. Cal. Jan. 12, 2021). However, where Judge Tigar

determines that claims could be saved by amendment, he invites repleading. See,

e.g., Rearden LLC v. TWDC Enters. 18 Corp., No. 22-cv-02464 (N.D. Cal. Feb. 21,

2023) (dismissing under 101 with leave to replead and denying subsequent motion

to dismiss under 101 based on amended complaint). That is exactly what occurred

here.

        Second, the district court did not analyze the dependent claims Koss asserted

in the SAC. Plantronics, ECF No. 80 at 11. The district court concluded that the

briefing regarding the FAC “present[ed] no ‘meaningful argument’ about any of the

dependent claims[,]” and granted Koss leave to amend to address the alleged

pleading deficiencies. Id. Koss did just that in its SAC. Accordingly, the district

court’s first dismissal cannot have preclusive effect because the basis for alleging

infringement was different in the SAC. See Wolfson, 616 F.3d at 1065.

        In the SAC, Koss (for the first time) specifically pleaded infringement of

Claim 4 of the ’025 Patent, Claim 4 of the ’934 Patent, and Claim 18 of the ’325

Patent. Plantronics, ECF No. 91.

        Accompanying the newly asserted claims, Koss pleaded factual allegations

establishing that, for example, Claim 4 of the ’025 Patent is patent eligible subject

matter and contains inventive concepts under Alice, steps 1 and 2. Id. ¶¶ 101–107.




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      The SAC further alleges that the PTAB had already found the claims of the

SAC to be not unpatentable, confirming that Judge Tigar’s treatment of the

dependent claims as patentably indistinct was incorrect. Id. ¶¶ 78–84. The PTAB’s

treatment of the claims repleaded in the SAC is important because the only

substantive analysis in Judge Tigar’s order is the eligibility of Claim 1; the PTAB

confirmed that Claim 4 is patentably distinct from Claim 1.

      The SAC also alleges that the USPTO (while examining then-pending now-

allowed patent applications) “carefully reviewed” Judge Tigar’s order and found the

subject matter of the newly pleaded claims of the SAC to be patentable subject

matter under 35 U.S.C. § 101. Id. ¶¶ 104–107. Koss included similar allegations

when alleging infringement of the other patent claims asserted against Bose. SAC

¶¶ 78–109, 130–165. These new facts are the type of unaddressed allegations invited

by the offer to replead and were never ruled upon by any court. The newly alleged

claims and newly pleaded facts of the SAC have not been actually litigated.

      Conversely, the ’155 Patent pleaded only in the FAC, not re-pleaded in the

SAC, was actually litigated. As Judge Tigar’s order notes, failure to re-allege a claim

in an amended complaint, “will result in dismissal with prejudice.” Plantronics,

ECF No. 88 at 16. While the dismissal of the ’155 Patent is a claim that was actually

litigated (by not being part of the SAC) and merged into final judgment. Conversely,

the claims of the ’025 Patent and ’934 Patent that were identified in the SAC do not



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have a corresponding order addressing their patentability. See Exeltis USA, Inc. v.

First Databank, Inc., 779 F. App’x 486, 487 (9th Cir. 2019) (“As a general rule, ‘an

amended complaint supersedes the original complaint and renders it without legal

effect.’” (citing Lacey, 693 F.3d at 927)). The treatment of the ’155 Patent cannot

be the same as the claims repleaded in the SAC.

      Exeltis, in a post-Lacey clarification, reasoned that “the original complaint is

a nullity [and] [e]xpressing [its] views on the claims in the original complaint would

be expressing [its] views on ‘abstract propositions of law’” at odds with Supreme

Court authority. Id. (citing Hall v. Beals, 396 U.S. 45, 48 (1969)).

B. The Case Law Relied Upon by this Court is Inapposite and Inconsistent with
Supreme Court and Ninth Circuit Law

      The Panel identified no cases where dismissal without prejudice directed to a

non-operative complaint merges into a final and appealable judgment upon

settlement and termination of the case, and serves as an adjudication on the merits

of amended claims, because no such law exists.

      The Panel relied upon Hartley and Lacey to support its application of issue

preclusion. Those cases, however, are inapposite because they rely upon a factual

predicate that is wholly absent here, i.e., there was no plausible outcome other than

dismissal of the claims because the dismissal was either with prejudice or based upon

a summary judgment order. Such a factual predicate does not exist here.




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      In Hartley, the court addressed a prior litigation wherein the “question of

validity . . . was actually litigated.” Hartley, 869 F.2d at 1471. The district court

granted summary judgment that the asserted patent was invalid under 35 U.S.C.

§ 102(b) based on the on-sale bar. Id. Summary judgment necessarily is an

adjudication on the merits. Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248

(1986). The claims of the SAC, in contrast, have never been adjudicated

      Lacey likewise is inapposite. The Lacey court held “[f]or claims dismissed

with prejudice and without leave to amend, we will not require that they be repled

in a subsequent amended complaint to preserve them for appeal. But for any claims

voluntarily dismissed, we will consider those claims to be waived if not repled.”

Lacey, 693 F.3d at 928. Here, the claims the Panel found precluded were not

dismissed with prejudice and without leave to amend. They were dismissed with

leave to amend, and Koss amended its infringement claims in the SAC. Lacey does

not support the argument that claims newly asserted in an amended complaint are

somehow adjudicated as insufficient by the order dismissing their predecessors, with

leave to amend, in a prior complaint.

      The Ninth Circuit has regularly held, post-Lacey, that claims in an original

complaint become a nullity upon the filing of amended claims, and it lacks

jurisdiction to review the amended claims. Exeltis, 779 F. App’x 486, 487 (9th Cir.

2019) (“[T]he original complaint is a nullity. Expressing our views on the claims in



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the original complaint would be expressing views on ‘abstract propositions of

law[.]’”); Liberi v. Def. Our Freedoms Founds., Inc., 509 F. App’x 595, 596 (9th Cir.

2013) (dismissing appeal of issues tied to original complaint due to filing of an

amended complaint). The Panel erroneously extended the rule that dismissed claims

need not be repleaded to appeal an order dismissing them: “if claims need not be

repleaded to be appealable, then the order dismissing those claims is not rendered a

legal nullity and merges into the final judgment.” Opinion, ECF No. 40 at 8 (citing

Lacey, 693 F.3d at 927). This rule applies when one set of claims is dismissed with

prejudice and others continue. In contrast, amended claims nullify the previously

dismissed claims, and their dismissal cannot be appealed.

      The Opinion places Koss in a catch-22; it cannot appeal the district court’s

order as it relates to the claims of the SAC because of the filing of the SAC, yet

failure to do so precludes litigation of the claims alleged in the SAC.

C. This Court’s Jurisdiction Rulings Preclude Issue Preclusion

      This Court delineates between claims of amended complaints and claims of

original complaints when determining appellate jurisdiction. See Zenith Elecs.

Corp. v. Exzec, Inc., 182 F.3d 1340 (Fed. Cir. 1999). A complaint containing patent

infringement claims gives district courts jurisdiction under 28 U.S.C. § 1338(a),

which in turn establishes “the path of appeal giving exclusive jurisdiction” to the

Federal Circuit. Id. at 1346. When those patent claims are dismissed with prejudice,



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this Court retains appellate jurisdiction. Id. Conversely, if the patent claims are

dismissed without prejudice, leaving only a trade secrets claim for example, “the

[district court] suit, so amended, did not arise under 28 U.S.C. § 1338(a)” and this

Court no longer has appellate jurisdiction. Id.

      This is because “the dismissal of a patent infringement claim without

prejudice operate[s] as an amendment of the complaint, leaving in that case only a

trade secrets claim.” Id. (citing Gronholz v. Sears, Roebuck & Co., 836 F.2d 515,

518 (Fed. Cir. 1987)).     Contrastingly, a complaint dismissed “with prejudice

constitutes an adjudication of the claims on the merits, not an amendment of the

complaint.” Id. (citing Hartley, 869 F.2d at 1473). Judge Tigar’s dismissal of the

’155 Patent’s claims are an adjudication on the merits, but the order inviting the SAC

cannot be deemed to be evidence of the actual litigation of the claims identified in

the SAC.

II. CONCLUSION

      In an issue of first impression, the Panel ruled that an order dismissing claims

with leave to amend, operates as an adjudication on the merits of the amended

claims. The Opinion is contrary to Ninth Circuit precedent because actual litigation

of a claim is required for issue preclusion to apply. The Opinion requires appeal of

an order that, by Federal Circuit and Ninth Circuit precedent, is not permitted. In




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Exeltis, the Ninth Circuit expressly rejected extending Lacey to cover claims that

were subsequently amended.

      The Opinion incorrectly extends Lacey (which holds that claims dismissed

with prejudice need not be repleaded to preserve their appealability) to amended

claims.



Dated: August 19, 2024                          Respectfully submitted,

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  ADDENDUM
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    United States Court of Appeals
        for the Federal Circuit
                   ______________________

                  KOSS CORPORATION,
                        Appellant

                                   v.

                  BOSE CORPORATION,
                          Appellee
                   ______________________

                         2022-2090
                   ______________________

      Appeal from the United States Patent and Trademark
  Office, Patent Trial and Appeal Board in No. IPR2021-
  00297.

            -------------------------------------------------

                  KOSS CORPORATION,
                        Appellant

                                   v.

                  BOSE CORPORATION,
                       Cross-Appellant
                   ______________________

        2023-1173, 2023-1179, 2023-1180, 2023-1191
                 ______________________
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  2                    KOSS CORPORATION v. BOSE CORPORATION




      Appeals from the United States Patent and Trademark
  Office, Patent Trial and Appeal Board in Nos. IPR2021-
  00612, IPR2021-00680.
                   ______________________

                    Decided: July 19, 2024
                    ______________________

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  1173, 2023-1179, 2023-1180, 2023-1191. Also represented
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                  ______________________

  Before HUGHES, STOLL, and CUNNINGHAM, Circuit Judges.
  HUGHES, Circuit Judge.
       Koss Corp. appeals, and Bose Corp. cross-appeals, the
  Patent Trial and Appeal Board’s decisions in IPR2021-
  00297, IPR2021-00612, and IPR2021-00680, involving
  Koss Corp.’s wireless earphone patents. Because all the
  claims in the patents at issue were invalidated in prior dis-
  trict court litigation, we find the appeals moot and dismiss.
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  KOSS CORPORATION v. BOSE CORPORATION                         3



                                I
                                A
      Koss Corp. (Koss) is the assignee of U.S. Patent No.
  10,368,155 (the ’155 patent), U.S. Patent No. 10,469,934
  (the ’934 patent), and U.S. Patent No. 10,206,025 (the ’025
  patent). Koss I J.A. 135; Koss II J.A. 226, 258. 1 The patents’
  common specification discloses a wireless earphone that
  communicates with a digital-audio source, such as an iPod,
  over an ad hoc wireless network like Bluetooth. Koss I J.A.
  154–55; Koss II J.A. 245–46, 277–78.
                                B
      On July 22, 2020, Koss filed a patent infringement suit
  in the District Court for the Western District of Texas
  against Bose Corp. (Bose), alleging that Bose infringed
  three Koss patents: the ’155 patent, the ’025 patent, and
  the ’934 patent. Koss I J.A. 3655. On the same day, Koss
  also filed an infringement action concerning the ’155, ’934,
  ’025, along with other patents against Plantronics, Inc.
  (Plantronics). Koss I J.A. 7909. In response, Bose filed a
  motion challenging venue in the Western District of Texas.
  Def.’s Motion to Dismiss at 1, Koss Corp. v. Bose Corp.,
  Case No. 6:20-cv-00661, ECF No. 20 (W.D. Tex. Dec. 17,
  2020). Separately, Bose petitioned for inter partes review
  (IPR) of all three patents before the Patent Trial and Ap-
  peal Board. Koss I J.A.167–278; Koss I J.A. 4–5.
      Then, on December 10, 2020, Bose filed a declaratory
  judgment action in the District Court for the District of
  Massachusetts seeking a declaration of noninfringement of
  the three Koss patents asserted against Bose in the



      1   For simplicity, citations to the briefs, joint appen-
  dix, and record in Appeal No. 22-2090 are prefaced by Koss
  I, while citations to the briefs, joint appendix, and record
  in Appeal No. 23-1173 are prefaced by Koss II.
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  4                    KOSS CORPORATION v. BOSE CORPORATION




  Western District of Texas. Complaint at 1, Koss Corp. v.
  Bose Corp., Civ. Action No. 1:20-cv-12193, ECF No. 1 (D.
  Mass. Dec. 10, 2020). The case was stayed pending resolu-
  tion of Bose’s improper-venue motion in the Western Dis-
  trict of Texas. Koss Corp. v. Bose Corp., Civ. Action No.
  1:20-cv-12193, ECF No. 8 (D. Mass. Feb. 5, 2021).
       In June 2021, the District Court for the Western Dis-
  trict of Texas dismissed Koss’s complaint against Bose for
  improper venue. Order, Koss Corp. v. Bose Corp., Case No.
  6-20-cv-00661, 2021 WL 7541417 (W.D. Tex. June 22,
  2021). Upon dismissal, Koss filed a counterclaim against
  Bose in the District Court for the District of Massachusetts
  asserting infringement of the same three Koss patents. An-
  swer and Counterclaims at 9–27, Koss Corp. v. Bose Corp.,
  Civ. Action No. 1:20-cv-12193, ECF No. 14 (D. Mass. July
  29, 2021).
      In September 2021, the Massachusetts district court
  stayed the case pending resolution of the IPRs, Order, id.,
  ECF No. 30 (D. Mass. Sept. 3, 2021),which the Board insti-
  tuted, Koss I J.A. 408–60, Koss II J.A. 1046–89, 11959–
  12012, and continued the stay until their completion, Or-
  der, Koss Corp. v. Bose Corp., Civ. Action No. 1:20-cv-
  12193, ECF No. 33 (D. Mass. Oct. 15, 2021). The Massa-
  chusetts case remains stayed pending Bose’s IPRs of the
  Koss patents, including the appeals of those IPRs now be-
  fore us.
      During this same period, Koss’s district court infringe-
  ment action against Plantronics—involving, among other
  patents, the same three patents asserted against Bose—
  was transferred to the Northern District of California. Or-
  der, Koss Corp. v. Plantronics, Inc., Case No. 6:20-cv-
  00663, ECF No. 45 (W.D. Tex. May 20, 2021). Plantronics
  moved to dismiss Koss’s First Amended Complaint on the
  ground that all claims of the asserted patents, including all
  claims of the ’155, ’934, and ’025 patents, are invalid under
  35 U.S.C. § 101 for claiming patent-ineligible subject
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  KOSS CORPORATION v. BOSE CORPORATION                       5



  matter. Defs.’ Motion to Dismiss First Amended Complaint
  at 8–17, 22–25, Koss Corp. v. Plantronics, Inc., Case
  No. 4:21-cv-03854, ECF No. 80 (N.D. Cal. Nov. 1, 2021).
  The motion to dismiss was fully briefed. Response, id., ECF
  No. 82 (N.D. Cal. Nov. 15, 2021), Reply, id. ECF No. 83
  (N.D. Cal. Nov. 22, 2021). The district court granted Plant-
  ronics’s motion, finding all claims of the asserted patents—
  including the ’155, ’934, and ’025 patents at issue here—
  invalid under 35 U.S.C. § 101. 2 Order at 16, id., ECF No. 88
  (N.D. Cal. Nov. 16, 2022).
      Following the district court’s invalidation of all of the
  patents’ claims, it granted Koss leave to amend. Id. Koss
  then filed a Second Amended Complaint in which it re-as-
  serted the ’934 and ’025 patents against Plantronics, but
  limited its infringement allegations to certain claims that
  involved signal strength technology in the patents. Second
  Amended Complaint at 16–34, id., ECF No. 91 (N.D. Cal.
  Dec. 7, 2022) (First and Second Causes of Action). Plant-
  ronics moved to dismiss the Second Amended Complaint on
  the ground that the asserted patents’ claims are unpatent-
  able under 35 U.S.C. § 101. Defs.’ Motion to Dismiss Sec-
  ond Amended Complaint at 8–14, 20–25, id., ECF No. 93
  (N.D. Cal. Dec. 21, 2022). Again, the motion was fully
  briefed. Response, id., ECF No. 96 (N.D. Cal. Jan. 11,
  2023); Reply, id., ECF No. 98 (N.D. Cal. Jan. 25, 2023).
      Rather than wait for the district court to decide Plant-
  ronics’s second Motion to Dismiss, Koss voluntarily stipu-
  lated to dismiss the litigation with prejudice. Stipulation
  at 2, id., ECF No. 101 (N.D. Cal. Aug. 4, 2023). When doing
  so, Koss did not ask the district court to vacate its earlier
  order finding all claims of the asserted patents invalid. The
  district court subsequently entered an order formally


      2   The Dismissal Order also invalidated all claims of
  three other Koss patents not at issue in these appeals: U.S.
  Patent Nos. 10,506,325; 10,757,498; and 10,848,852.
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  dismissing Koss’s suit against Plantronics with prejudice.
  Order, id., ECF No. 102 (N.D. Cal. Aug. 4, 2023). The dead-
  line for Koss to appeal the district court’s final judgment
  was September 5, 2023. See Fed. R. App. P. 4(a)(1)(A). Koss
  did not appeal.
       On September 20, 2023, after the Plantronics dismis-
  sal, Bose moved to dismiss the appeals of the IPRs before
  us as moot (Appellee’s Mot.), arguing that Plantronics in-
  validated the claims at issue in the appeals. Koss I ECF No.
  30; Koss II ECF No. 35. Koss opposed the motions (Appel-
  lant’s Opp.) and Bose replied (Appellee’s Reply). Koss I
  ECF Nos. 32, 34; Koss II ECF Nos. 37, 39. Oral arguments
  in both Koss I and II occurred on February 6, 2024, address-
  ing both the substance of the appeals and the issue preclu-
  sion issue. Koss I ECF No. 36; Koss II ECF No. 41. We have
  statutory jurisdiction under 28 U.S.C. § 1295(a)(1).
                                II
      Issue preclusion is “a purely procedural issue” as pre-
  sented here, therefore we apply the law of the regional cir-
  cuit—in this case, the Ninth Circuit—with respect to the
  effect of a previous judgment. RF Del., Inc. v. Pac. Keystone
  Techs., Inc., 326 F.3d 1255, 1261 (Fed. Cir. 2003). 3



      3    Our “court has developed its own law with respect
  to res judicata (including collateral estoppel) in non-patent
  cases . . . . But in patent cases, despite our exclusive juris-
  diction, we have generally stated that we look to regional
  circuit law for general principles of res judicata.” Uniloc
  USA, Inc. v. Motorola Mobility LLC, 52 F.4th 1340, 1346
  n.3 (Fed. Cir. 2022). Despite this ambiguity, we need not
  resolve which circuit’s law should govern here because our
  law and Ninth Circuit law are, in relevant respects, the
  same. See, e.g., Foster v. Hallco Mfg. Co., 947 F.2d 469, 477
  n.7 (Fed. Cir. 1991) (applying Ninth Circuit law to an issue
  of res judicata).
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  KOSS CORPORATION v. BOSE CORPORATION                         7



                                III
       The Constitution limits the “judicial power” vested in
  the courts to “[c]ases” or “[c]ontroversies.” U.S. CONST.
  art. III, § 2. “It is well settled that the case-or-controversy
  requirement, including mootness, subsists through all
  stages of federal judicial proceedings, trial and appellate.”
  Synopsys, Inc. v. Lee, 812 F.3d 1076, 1078 (Fed. Cir. 2016)
  (quotation marks omitted). “[A]n appeal should . . . be dis-
  missed as moot when, by virtue of an intervening event, a
  court of appeals cannot grant any effectual relief whatever
  in favor of the appellant.” Calderon v. Moore, 518 U.S. 149,
  150 (1996) (quotation marks omitted). Thus, if the patent
  claims at issue in these appeals are invalid due to the “in-
  tervening” dismissal in Plantronics, Koss is precluded from
  asserting its patents’ claims—now and in the future—and
  these appeals are moot.
       The question before us is whether the Plantronics dis-
  trict court’s invalidation of all claims of the ’155, ’025, and
  ’934 patents is final, as Bose contends, or was superseded
  by Koss’s Second Amended Complaint, as Koss contends.
  See Koss I Appellee’s Mot. 4; Koss I Appellant’s Opp. 5. Typ-
  ically, when a district court issues a final judgment, any
  interlocutory orders merge with that final judgment. For
  instance, in Hartley v. Mentor Corp., 869 F.2d 1469, 1472
  (Fed. Cir. 1989) (applying Ninth Circuit law), we held that
  an interlocutory summary judgment of invalidity merged
  with the final stipulation of dismissal with prejudice. In
  that case, the district court granted summary judgment
  that an asserted patent was invalid. Id. at 1471. When that
  summary judgment order issued, it was interlocutory, or
  non-final, as litigation was ongoing. Subsequently, the or-
  der became final and appealable when it merged with a
  stipulated dismissal with prejudice, which concluded liti-
  gation. Id. at 1472 (“[I]ssue preclusion is likely to be based
  on what was at the time an ‘interlocutory’ ruling, and gen-
  erally such orders become finalized upon entry of the judg-
  ment in the case.”). Because the patentee neither appealed
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  the summary judgment order, nor sought to have it vacated
  by the district court, our court held that the order had pre-
  clusive effect in later litigation against a different defend-
  ant. Id. at 1472–74.
      Koss attempts to distinguish this precedent by arguing
  that the district court’s ineligibility ruling became a nullity
  on the filing of the Second Amended Complaint. Not so. The
  Ninth Circuit has made it clear that claims in prior dis-
  missed complaints need not be raised in amended com-
  plaints for them to be appealable. Lacey v. Maricopa Cnty.,
  693 F.3d 896, 927 (9th Cir. 2012) (“[C]ourts have concluded
  that the plaintiff does not forfeit the right to challenge [a]
  dismissal on appeal simply by filing an amended complaint
  that does not re-allege the dismissed claim.” (quotation
  marks omitted)). As the Ninth Circuit explained, a rule re-
  quiring repleading is unfair to the parties and the district
  court. Id. at 927–28. Consequently, if claims need not be
  repleaded to be appealable, then the order dismissing those
  claims is not rendered a nullity and merges into the final
  judgment. Contrary to Koss’s understanding, its decision
  not to reallege all of the dismissed claims in district court
  did not alter its ability to appeal the district court’s order
  regarding ineligibility as to the claims not realleged (i.e.,
  did not render the order an unappealable nullity as to those
  claims). What altered Koss’s right to appeal was its own
  voluntary decision to dismiss the case with prejudice with-
  out reserving a right of appeal.
      The same facts that triggered preclusion in Hartley are
  present here. The district court’s invalidity order, which
  was interlocutory when issued, merged with the final judg-
  ment dismissing the case with prejudice. See Headwaters
  Inc. v. U.S. Forest Serv., 399 F.3d 1047, 1052 (9th Cir.
  2005) (A “stipulated dismissal of an action with prejudice
  in a federal district court generally constitutes a final judg-
  ment on the merits.”). In other words, while the invalidity
  order may not have been final and appealable when it is-
  sued in November 2022, it became final and appealable in
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  August 2023 when Koss stipulated to the dismissal of its
  suit. And as in Hartley, Koss neither appealed the invali-
  dation nor had it vacated. Cf. 869 F.2d at 1473 (“Under
  Ninth Circuit law, to be assured that the judgment here
  would have no collateral estoppel effect, Hartley would
  have had to have the 3M court vacate its order, which he
  failed to do . . . .”).
      Koss’s patent claims are thus invalid, removing any
  case or controversy and rendering these appeals moot. See
  Blonder-Tongue Lab’ys, Inc. v. Univ. of Ill. Found., 402 U.S.
  313, 339–40 (1971). We, therefore, dismiss.
                         DISMISSED
                             COSTS
  Costs to Bose.
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FORM 19. Certificate of Compliance with Type-Volume Limitations                             Form 19
                                                                                           July 2020


                    UNITED STATES COURT OF APPEALS
                       FOR THE FEDERAL CIRCUIT

  CERTIFICATE OF COMPLIANCE WITH TYPE-VOLUME LIMITATIONS

            Case Number: 2022-2090

  Short Case Caption: Koss Corporation v. Bose Corporation

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  Date: _________________                       Signature:

                                                Name:             Mark G. Knedeisen




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